           Case 2:09-cr-00223-TLN Document 126 Filed 06/05/13 Page 1 of 3


1    Dennis S. Waks, Bar #142581
     455 Capitol Mall, Suite 350
2    Sacramento, California 95814
     Telephone (916) 498-9871
3
4    Attorney for Defendant
     KHAMLE KEOVILAY
5
                            IN THE UNITED STATES DISTRICT COURT
6
                          FOR THE EASTERN DISTRICT OF CALIFORNIA
7
8
     UNITED STATES OF AMERICA,        )
9                                     )   CR. S-09-223-TLN
                         Plaintiff,   )
10                                    )   STIPULATION AND ORDER
                 v.                   )
11                                    )
     KHAMLE KEOVILAY, et al.,         )   DATE: June 20, 2013
12                                    )   TIME: 9:30 a.m.
                         Defendant.   )   JUDGE: Hon. Troy L. Nunley
13                                    )
     __________________________       )
14
15
          It is hereby stipulated and agreed to by the United States of
16
     America through TODD D. LERAS, Assistant United States Attorney, and
17
     defendant, KHAMLE KEOVILAY, by and though his counsel, DENNIS S. WAKS,
18
     Attorney at Law, that the status conference set for June 6, 2013, be
19
     continued to a status conference/change of plea on June 20, 2013, at
20
     9:30 a.m.    This continuance is being requested because defense counsel
21
     needs additional time to prepare, to review discovery, and to interview
22
     witnesses.       The defendant has received a large amount of discovery,
23
     including Title III documents.
24
          Furthermore, the parties stipulate and agree that the interest of
25
     justice served by granting this continuance outweighs the best interest
26
     of the public and the defendant in a speedy trial. (18 U.S.C.
27
     §3161(h)(7)(A)).
28
             Case 2:09-cr-00223-TLN Document 126 Filed 06/05/13 Page 2 of 3


1         Speedy trial time is to be excluded from the date of this order
2    through the date of the status conference set for June 20, 2013,
3    pursuant to 18 U.S.C. § 3161 (h)(7)(B)(iv) [reasonable time to prepare]
4    (Local Code T4).
5    DATED: June 4, 2013
6                                        Respectfully submitted,
7
                                         /s/ Dennis S. Waks
8
                                         DENNIS S. WAKS
9                                        Attorney for Defendant
                                         KHAMLE KEOVILAY
10
11
12   DATED: June 4, 2013
                                         BENJAMIN B. WAGNER
13                                       United States Attorney
14
                                         /s/ Dennis S. Waks for
15
                                         TODD D. LERAS
16                                       Assistant U.S. Attorney
17   / / /
18   / / /
19   / / /
20   / / /
21   / / /
22   / / /
23   / / /
24   / / /
25   / / /
26   / / /
27   / / /
28   / / /




                                               2
            Case 2:09-cr-00223-TLN Document 126 Filed 06/05/13 Page 3 of 3


1                                       O R D E R
2          Based on the stipulation of the parties and good cause appearing
3    therefrom, the Court hereby finds that the failure to grant a

4    continuance in this case would deny defense counsel reasonable time

5    necessary for effective preparation, taking into account the exercise

6    of due diligence.     The Court specifically finds that the ends of

7    justice served by the granting of such continuance outweigh the

8    interests of the public and the defendant in a speedy trial.               Based on

9    these findings and pursuant to the stipulation of the parties, the

10   Court hereby adopts the stipulation of the parties in its entirety as

11   its order.   Time is excluded from computation of time within which the
     trial of this matter must be commenced beginning from the date of the
12
     stipulation through and including June 20, 2013, pursuant to 18 U.S.C.
13
     §   3161(h)(7)(A) and (B)(iv) [reasonable time for defense counsel to
14
     prepare] and Local Code T4.      A new status conference date is hereby set
15
     for June 20, 2013, at 9:30 a.m..
16
17
     DATED: June 4, 2013
18
19
20
21                                                      Troy L. Nunley
                                                        United States District Judge
22
23
24
25
26
27
28




                                              3
